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                              UNITED STATES DISTRICT COURT
                                         FOR THE
                               DISTRICT OF NEW HAMPSHIRE


  ANDRE BISASOR,

                 Plaintiff,

  v.
                                                                Docket No.
  CRAIG S. DONAIS, DONAIS LAW OFFICES, PLLC,
  RUSSELL F. HILLIARD AND MARY K. DONAIS,

                 Defendants.



                                 CONSENT TO REMOVAL


        Defendant Russell F. Hilliard hereby consents to removal of the above-captioned action by

defendants, Craig S. Donais, Donais Law Offices, PLLC and Mary K. Donais from Hillsborough

Superior Court, Northern District to United States District Court, District of New Hampshire,

pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1446, and 28 U.S.C. 1441.

 Russell F. Hilliard,                            Craig S. Donais, Donais Law Offices, PLLC
 PRETI FLAHERTY                                  and Mary Donais
                                                 MORRISON MAHONEY LLP

 /s/ Daniel R. Sonneborn                         /s/ Linda M. Smith
 ___________________________________             ___________________________________
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                               CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served on the following persons on this date in
the manner specified herein:

Electronically Served:

 Andre Bisasor, Pro Se                             Daniel R. Sonneborn, Esq.
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                                                /s/ Linda M. Smith
                                                Linda M. Smith, #265038
                                                Edwin F. Landers, Jr., #17297




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